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approximately two years before retuming to his previous role as a jailer in the Corrections
Department. In 2008, Plaintiff began working as a bailiff in the courthouse where he was tasked
with door security, including working the metal detector, In late 2008, Plaintiff moved to Central
Louisiana State Hospital where he also worked door security. Approximately six months later, he
returned to courthouse security and worked for Judge Mary Doggett until his stroke on November
29, 2017, After his stroke, Plaintiff returned to Courtroom Security, but working door security. He
was transferred to Corrections in November, 2018.

INTE 3

Describe in detail what steps in the Plaintiff took when informing Rapides Parish Sheriff's
Office that he needed an accommodation under the Americans with Disabilities Act, including
who he informed, when he informed them and whether he informed them verbally or in writing.

RESPONSE TO INTERROGATORY NO. 3

On November 8, 2018, Plaintiff was transferred from an ej ght-hour shift position in
Courtroom Security to a twelve-hour shift position in Corrections. Plaintiff had successfully
worked an eight-hour shift from February, 2018, until the transfer, which was in accordance with
his physician’s guidelines. After being transferred, Plaintiff had a conversation with his supervisor,
Warden Antoine Batiste, about accommodating his need for eight-hour shifts and Warderi Batiste
did accommodate him as requested when presented with a doctor’s note.

Sometime in mid-November, Plaintiff met with Major Doug Hollingsworth and Warden
Batiste, at which time he was told he had to werk 12-hour shifts, despite his request for an
accommodation and documentation from his doctor. Warden Batiste initially attempted to partially
accommodate him within Major Hollingsworth’s guidelines by allowing Plaintiff to work his 12-
hour shifts in the control center, away from offenders, but Major Hollingsworth again overruled
him.

On November 27, 2018, Plaintiff contacted Major Hollingsworth requesting a transfer to
an administrative position whitch could accommodate both his need for eight-hour shifts and to
work in an area without loud noises. Plaintiff included a letter from his physician, Dr. H. Riad
Hajmurad, outlining the requested accommodations. Major Hollingsworth denied the request,

On December 5, 2018, Plaintiff sent a letter to the Rapides Parish Sheriff's Office Human
Resources Department requesting the sarme accommodations.

After receiving a letter from Sheriff William Hilton denying his request for an
accommodation, Plaintiff wrote a letter back to Sheriff Hilton on December 17, 2018, again asking
for an accommodation and offering to work in any department.

INTERROGATORY NO. 4

Provide the name, address and telephone number of all doctors and health care providers,
and their specialties that the Plaintiff has seen within the last ten years, and the reason why the
Plaintiff visited each.

EXHIBIT

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